      Case 2:18-cr-00422-DJH Document 922 Filed 04/17/20 Page 1 of 2



 1   MICHAEL BAILEY
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   Assistant U.S. Attorneys
     40 N. Central Avenue, Suite 1800
 6   Phoenix, Arizona 85004-4408
     Telephone (602) 514-7500
 7
     JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
 8   Special Assistant U.S. Attorney
     312 N. Spring Street, Suite 1200
 9   Los Angeles, CA 90012
     Telephone (213) 894-3391
10
     BRIAN BENCZKOWSKI
11   Assistant Attorney General
     Criminal Division, U.S. Department of Justice
12
     REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
13   Senior Trial Attorney, U.S. Department of Justice
     Child Exploitation and Obscenity Section
14   950 Pennsylvania Ave N.W., Room 2116
     Washington, D.C. 20530
15   Telephone (202) 616-2807
     Attorneys for Plaintiff
16
                          IN THE UNITED STATES DISTRICT COURT
17
                              FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                             No. CR-18-00422-PHX-SMB

20                        Plaintiff,
                                                       MOTION FOR LEAVE TO FILE
21            v.                                      NON-ELECTRONIC EXHIBIT TO
                                                       UNITED STATES’ MOTION TO
22                                                    ADMIT EVIDENCE OF MURDERS
     Michael Lacey, et al.,                             IMPLICATING BACKPAGE
23
                          Defendants.
24
25
26         The United States of America respectfully requests leave to allow the non-electronic
27   filing of one compact disc containing an Excel spreadsheet, which is Exhibit B referenced
28   in its Motion to Admit Evidence of Murders Implicating Backpage (Doc. 920), filed on
         Case 2:18-cr-00422-DJH Document 922 Filed 04/17/20 Page 2 of 2




 1   April 17, 2020. The spreadsheet cannot be converted into a PDF format, and therefore
     cannot be filed electronically. 1
 2
             Respectfully submitted this 17th day of April, 2020.
 3
 4                                             MICHAEL BAILEY
                                               United States Attorney
 5                                             District of Arizona
 6                                             s/Kevin M. Rapp
                                               KEVIN M. RAPP
 7                                             MARGARET PERLMETER
                                               PETER S. KOZINETS
 8                                             ANDREW C. STONE
                                               Assistant U.S. Attorneys
 9
                                               JOHN J. KUCERA
10                                             Special Assistant U.S. Attorney
11                                             BRIAN BENCZKOWSKI
                                               Assistant Attorney General
12                                             U.S. Department of Justice
                                               Criminal Division, U.S. Department of Justice
13
                                               REGINALD E. JONES
14                                             Senior Trial Attorney
                                               U.S. Department of Justice, Criminal Division
15                                             Child Exploitation and Obscenity Section
16
17
                                   CERTIFICATE OF SERVICE
18
            I hereby certify that on this same date, I electronically transmitted the attached
19   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
20   as counsel of record.
21   s/ Zachry Stoebe
     Zachry Stoebe
22   U.S. Attorney’s Office
23
24
25   1
            Pursuant to the District of Arizona’s Electronic Case Filing Administrative Policies
26   and Procedures Manual, Section N(2), Non-Electronic Filing of Exhibits and Other
     Documents - A party may seek leave of the court to allow the non-electronic filing of
27   exhibits and other documents when they are not convertible to electronic form (e.g.,
     videotapes, maps, etc.) or are extremely large.
28


                                                -2-
